 —j   —r-
                                                                                              ",   ” /   — '

                                                 20STCV37131
Case 2:20-cv-10711-FMO-AGR                 Document
           Assigned for all purposes to: Stanley         1-1 Filed
                                                 Mosk Courthouse, Judicial11/24/20        Page 1 of 8 Page ID #:6
                                                                           Officer: Teresa Beaudet




       1
               Center for Disability Access
       2       Raymond Ballister Jr., Esq., SBN 111282
               Russell Handy, Esq., SBN 195058
       3       Amanda Seabock, Esq., SBN 289900
               Zachary Best, Esq., SBN 166035
       4       Mail: 8033 Linda Vista Road, Suite 200
               San Diego, CA 92111
       5       (858) 375-7385; (888) 422-5191 fax
       6       amandas@potterhandy.com

       7       Attorneys for Plaintiff
       8
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
       9
                                      COUNTY OF LOS ANGELES
      10
      11
                 Orlando Garcia,                                   Case No. 2 0STCV37131
  12
                        Plaintiff,
                                                                   UNLIMITED CASE
  13
                   v.
  14                                                               Complaint For Damages And
                 LA OSM Wilshire LLC, a                            Injunctive Relief For
  15             Delaware Limited Liability                        Violations Of: Americans With
                 Company; and Does 1-10,                           Disabilities Act; Unruh Civil
  16                                                               Rights Act
                        Defendants j
  17
                                                                   Damages demanded exceed
  18
                                                                   $25,000.
  19
  20

  21              Plaintiff Orlando Garcia complains of LA OSM Wilshire LLC, and Does
  22        1-10 (“Defendants”), and alleges as follows:
  23          PARTIES:
  24          1. Plaintiff is a California resident with physical disabilities. He is
 25         substantially limited in his ability to walk. He suffers from cerebral palsy. He
 26         has the use of only one arm. He uses a wheelchair, walker, or cane for mobility.
 27           2. Defendant Greenland LA OSM Wilshire LLC, owns and operates the
 28         Kimpton Hotel Wilshire, located at 6317 Wilshire Blvd., Los Angeles,


                                                           1

            Complaint
                                                                                         Exhibit A, Page 5
    Case 2:20-cv-10711-FMO-AGR Document 1-1 Filed 11/24/20 Page 2 of 8 Page ID #:7


I
       1   California, currently and at all times relevant to this complaint.
       2      3. Plaintiff does not know the true names of Defendants, their business
       3   capacities, their ownership connection to the property and business, or their
      4    relative responsibilities in causing the access violations herein complained of,
      5    and alleges a joint venture and common enterprise by all such Defendants.
      6    Plaintiff is informed and believes that each of the Defendants herein >
      7    including Does 1 through 10, inclusive, is responsible in some capacity for the
      8    events herein alleged, or is a necessary party for obtaining appropriate relief.
      9    Plaintiff will seek leave to amend when the true names, capacities,
     10    connections, and responsibilities of the Defendants and Does 1 through 10,
     11    inclusive, are ascertained.
     12      JURISDICTION:
     13      4. This Court has subject matter jurisdiction over this action as a court of
     14    general jurisdiction. This Court has personal jurisdiction over Defendants
     15    because they conduct substantial business in the State of California, County of
     16    Los Angeles, and Defendant’s offending Website is available throughout
     17    California.
     18       5. Venue it proper in this Court because Defendant conducts business in
     19    this County.
     20      6. Unlimited jurisdiction is proper because Plaintiff seeks a permanent
     21    injunction ordering compliance with the Americans with Disabilities Act.
     22      PRELIMINARY STATEMENT
     23      7. This is a lawsuit challenging the reservation policies and practices of a
     24    place of lodging. Plaintiff does not know if any physical or architectural
     25    barriers exist at the hotel and, therefore, is not claiming that that the hotel has
     26    violated any construction-related accessibility standard. Instead, this is about
     27    the lack of information provided on the hotel’s reservation website that would
     28    permit plaintiff to determine if there are rooms that would work for him.


                                                   2

           Complaint
                                                                            Exhibit A, Page 6
Case 2:20-cv-10711-FMO-AGR Document 1-1 Filed 11/24/20 Page 3 of 8 Page ID #:8



      1      8. After decades of research and findings, Congress found that there was
      2    a “serious and pervasive social problem” in America: the “discriminatory
      3   effects” of communication barriers to persons with disability. The data was
      4   clear and embarrassing. Persons with disabilities were unable to “fully
      5   participate in all aspects of society,” occupying “an inferior status in our
      6   society,” often for no other reason than businesses, including hotels and
      7   motels, failed to provide information to disabled travelers. Thus, Congress
  8       decided “to invoke the sweep of congressional authority” and issue a “national
  9       mandate for the elimination of discrimination against individuals with
 10       disabilities,” and to finally ensure that persons with disabilities have “equality
 11       of opportunity, full participation, independent living” and self-sufficiency.
 12          9. As part of that effort, Congress passed detailed and comprehensive
 13       regulations about the design of hotels and motels. But, as importantly,
 14       Congress recognized that the physical accessibility of a hotel or motel means
 15       little if the 61 million adults living in America with disabilities are unable to
 16       determine which hotels/motels are accessible and to reserve them. Thus,
 17       there is a legal mandate to provide a certain level of information to disabled
 18       travelers.
 19          10. But despite the rules and regulations regarding reservation procedures,
 20       a 2019 industry article noted that: “the hospitality sector has largely
 21       overlooked the importance of promoting accessible features to travelers.”
 22          11. These issues are of paramount important. Persons with severe
 23       disabilities have modified their own residences to accommodate their unique
 24       needs and to ameliorate their physical limitations. But persons with disabilities
 25       are never more vulnerable than when leaving their own residences and having
 26       to travel and stay at unknown places of lodging. They must be able to ascertain
27        whether those places work for them.
28



                                                 3

          Complaint
                                                                          Exhibit A, Page 7
Case 2:20-cv-10711-FMO-AGR Document 1-1 Filed 11/24/20 Page 4 of 8 Page ID #:9



      1
      2       FACTUAL ALLEGATIONS:
      3      12. Plaintiff planned on making a trip in October of 2020 to the Los
      4    Angeles, California, area.
      5     13. He chose the Kimpton Hotel Wilshire, located at 6317 Wilshire Blvd.,
     6    Los Angeles, California, because this hotel was at a desirable price and
     7    location.
  8          14. Plaintiff needs an accessible guestroom. He needs clearance around
  9       beds, he needs accessible restroom facilities including accessible sinks,
 10       accessible tubs or showers and accessible toilets. He needs sufficient
 11       maneuvering clearance in and around the guestroom. He needs accessories to
 12       be located within an accessible reach range. In short, he benefits from and
 13       needs compliant accessible guestroom features.
 14          15. Plaintiff   went   to   the   Kimpton    Hotel   Wilshire    website   at
 15       //www.hotelwilshire.com on September 15, 2020.
 16          16. Plaintiff found that there was little information about the accessibility
 17       of the rooms and hotel. For example, the accessible two queen beds room only
 18       mentioned that the room had a “roll-in shower with grab bars and handheld
 19       shower head.” These are vague conclusory statements with no mention of any
 20       other accessible features. For example, there is no mention if the bedroom has
 21       compliant clear floor space, or if the toilet and sink are accessible, or if the
 22       table/desk is accessible. There is not mention of accessible parking or paths of
 23       travel.
 24          17. The defendant’s reservation system failed to identify and describe the
 25       accessible features in the guestroom chosen by the plaintiff in enough detail to
26        reasonably permit him to assess independently whether the particular
27        guestroom met his accessibility needs.
28          18. This lack of information created difficulty for the plaintiff and the idea


                                                 4

          Complaint
                                                                         Exhibit A, Page 8
Case 2:20-cv-10711-FMO-AGR Document 1-1 Filed 11/24/20 Page 5 of 8 Page ID #:10



   1   of trying to book this room -- essentially ignorant about its accessibility —
   2   caused discomfort for the Plaintiff.
   3      19. Plaintiff would like to patronize this hotel but is deterred from doing so
   4   because of the lack of detailed information through the hotel’s reservation
   5   system. Plaintiff not only travels frequently but is always on the lookout for
   6   businesses that violate the law and discriminate against him and other persons
   7   with disabilities, intending to have them comply with the law and pay statutory
   8   penalties.
   9   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  10   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
  11   Defendants.) (42 U.S.C. section 12101, etseq.)
  12     20. Plaintiff re-pleads and incorporates by reference, as if fully set forth
  13   again herein, the allegations contained in all prior paragraphs of this
  14   complaint.
  15     21. Under the ADA, it is an act of discrimination to fail to make reasonable
  16   modifications in policies, practices, or procedures when such modifications
  17   are necessary to afford goods, services, facilities, privileges advantages or
  18   accommodations to person with disabilities unless the entity can demonstrate
  19   that taking such steps would fundamentally alter the nature of the those goods,
  20   services, facilities, privileges advantages or accommodations. See 42 U.S.C. §
 21    12182(B)(2)(A) (ii).
  22     22. Specifically, with respect to reservations by places of lodging, a
  23   defendant must ensure that its reservation system, including reservations
 24    made by “any means,” including by third parties, shall:
 25                     a. Ensure that individuals with disabilities can make
 26                           reservations for accessible guest rooms during the same
 27                           hours and in the same manner as individuals who do not
 28                           need accessible rooms;


                                               5

       Complaint
                                                                      Exhibit A, Page 9
Case 2:20-cv-10711-FMO-AGR Document 1-1 Filed 11/24/20 Page 6 of 8 Page ID #:11



   1                     b. Identify and describe accessible features in the hotels and
   2                         guest rooms offered through its reservations service in
   3                         enough detail to reasonably permit individuals with
   4                        disabilities to assess independently whether a given hotel
   5                        or guest room meets his or her accessibility needs; and
   6                     c. Reserve, upon request, accessible guest rooms or specific
   7                        types of guest rooms and ensure that the guest rooms
   8                        requested are blocked and removed from all reservations
   9                        systems.
  10               See 28 C.F.R. § 36.302(e).
  11      23. Here, the defendant failed to modify its reservation policies and
  12   procedures to ensure that it identified and described accessible features in the
  13   hotels and guest rooms in enough detail to reasonably permit individuals with
  14   disabilities to assess independently whether a given hotel or guest room meets
  15   his or her accessibility needs and failed to ensure that individuals with
  16   disabilities can make reservations for accessible guest rooms during the same
  17   hours and in the same manner as individuals who do not need accessible
  18   rooms.
  19   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
  20   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 21    Code § 51-53.)
 22      24. Plaintiff repleads and incorporates by reference, as if fully set forth
 23    again herein, the allegations contained in all prior paragraphs of this
 24    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 25    that persons with disabilities are entitled to full and equal accommodations,
 26    advantages, facilities, privileges, or services in all business establishment of
 27    every kind whatsoever within the jurisdiction of the State of California. Cal.
 28    Civ. Code §51(b).


                                                6

       Complaint
                                                                    Exhibit A, Page 10
Case 2:20-cv-10711-FMO-AGR Document 1-1 Filed 11/24/20 Page 7 of 8 Page ID #:12



      1      25. The Unruh Act provides that a violation of the ADA is a violation of the
      2   UnmhAct. Cal. Civ. Code, § 51(f).
      3     26. Defendants’ acts and omissions, as herein alleged, have violated the
   4      Unruh Act by, inter alia, failing to comply with the ADA with respect to its
      5   reservation policies and practices.
      6      27. Because the violation of the Unruh Civil Rights Act resulted in difficulty
   7      and discomfort for the plaintiff, the defendants are also each responsible for
   8      statutory damages, i.e., a civil penalty. See Civ. Code § 52 (a).
   9             PRAYER:
  10             Wherefore, Plaintiff prays that this Court award damages and provide
  11      relief as follows:
  12          1. For injunctive relief, compelling Defendants to comply with the
  13      Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
  14      plaintiff is not invoking section 5 5 of the California Civil Code and is not
  15      seeking injunctive relief under the Disabled Persons Act at all.
  16          2. Damages under the Unruh Civil Rights Act, which provides for actual
  17      damages and a statutory minimum of $4,000 for each offense.
  18          3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 19       to 42 U.S.C. § 12205; and Cal. Civ. Code § 52(a).
 20

 21
 22       Dated: September 25, 2020               CENTER FOR DISABILTY ACCESS
 23
 24
 25
 26                                              By:
 27                                              Russell Handy, Esq.
                                                 Attorneys for Plaintiff
 28



                                                 7

          Complaint
                                                                        Exhibit A, Page 11
    Case 2:20-cv-10711-FMO-AGR Document 1-1 Filed 11/24/20 Page 8 of 8 Page ID #:13



\
       1
       2
       3
       4
       5
       6
       7
       8
       9
      10
      11
      12
      13
      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24
      25
      26
      27
     28


                                             8

           Complaint
                                                                 Exhibit A, Page 12
